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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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UNITED STATES OF AMERICA
Protective Order re: 3500 Material
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§3 20 Cr. 188 JSR)
HAMID AKHAVAN, a/k/a “Ray Akhavan,” and
RUBEN WEIGAND,
Defendants.
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IT IS HEREBY agreed, by and between the United States of America, Audrey
Strauss, Acting United States Attorney, by Nicholas Folly, Christopher DiMase, and Tara La
Morte, Assistant United States Attorneys, and defendant Hamid Akhavan, by and through his
attorneys William Burck, Esq. Christopher Tayback, Esq., and Ira Rothken, Esq., and defendant
Ruben Weigand, by and through his attorneys Andrew Levander, Esq., Michael Gilbert, Esq.,
and Michael Artan, Esq., that, with respect to all materials produced under 18 U.S.C. § 3500
(“3500 Material”) and other witness material marked Attorney’s Eyes Only (“AEO Material”),
including such materials produced on or before the date of this Order:

(1) defense counsel must destroy or return to the Government all 3500 Material
and AEO Material (including all copies), at the conclusion of the trial of this matter or when any
appeal has become final;

(2) Defense counsel may disclose 3500 Material (and any copies) to their
respective clients, Hamid Akhavan and Ruben Weigand, any paralegal or staff employed by the
defense, and any expert witness the defense intends to use at trial (collectively, “Designated
Persons’’);

(3) To the extent any Designated Person (or any other party not provided for

 
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herein) obtains any 3500 Material that is the subject of this Order, such 3500 Material shall not
be further disclosed in any form, including but not limited to orally disclosing such information
and posting such information on the Internet;

(4) Defendants Hamid Akhavan and Ruben Weigand, and their respective counsel
of record, shall provide a copy of this Order to any Designated Persons to whom the 3500
Material is disclosed pursuant to paragraph 2. Prior to disclosure of such material to any
Designated Person, pursuant to paragraph 2, any such Designated Person shall agree to be
subject to the terms of this Order;

(5) AEO Material shall be prominently marked “Attorney’s Eyes Only,” AEO
Material shall not be disclosed in any form, including but not limited to orally disclosing such
information, to defendant Hamid Akhavan, defendant Ruben Weigand, or anyone else beyond
defense counsel. If counsel for defendant Akhavan or Weigand determines that the AEO
Material is material and relevant to the investigation and defense of their respective client and
requires counsel to share the information subject to this protective order with their client, counsel

for the defendant reserve the right, on notice to the Government,

 
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to seek permission from the Court to do so.

IT IS SO ORDERED.

Dated: New York, New York
October, 2020

By:

 

HONORABLE JED S. RAKOFF
United States District Judge
Southern District of New York

AUDREY STRAUSS
Acting United States Attorney for the
Southern District of New York

He
Christopher J. DiMase / Nicholas Folly / Tara La Morte
Assistant United States Attorneys

Chotyl, Te, Ee

William Burck, Esq.”

Christopher Tayback, Esq.

Ira Rothken, Esq.

Counsel for Defendant Hamid Akhavan

 

 

Andrew Levander, Esq.

Michael Gilbert, Esq.

Michael Artan, Esq.

Counsel for Defendant Ruben Weigand

 
Case 1:20-cr-00188-JSR Document 118 Filed 11/04/20 Page 4 of 4

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IT IS SO ORDERED,

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By:

 

HONORABLE JED S.RAKOFF
United States District Judge
Southern District of New York

AUDREY STRAUSS
Acting United States Attorney for the
Southern District of New York

 

Christopher J, DiMase / Nicholas Folly / Tara La Morte
Assistant United States Attorneys

 

William Burck, Esq.

Christopher Tayback, Esq.

Ira Rothken, Esq.

Counsel for Defendant Hamid Akhavan

Digitally signed by: Michaet J, Gilbert

Michael J. Gilberts {CN = Michact J. Gltbart email = mickest,

ng@decherl.com C = US O = Oeched LLP
> Pala: 2020.11.02 13:47:46 05°00"

 

Andrew Levander, Esq.

Michael Gilbert, Esq.

Michael Artan, Esq.

Counsel for Defendant Ruben Weigand

 
